UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


GEORGE SANTOS,

                             Plaintiff,

               - against -                              Case No. 1:24-cv-01210-DLC

JAMES C. KIMMEL a/k/a JIMMY KIMMEL,
AMERICAN BROADCASTING COMPANIES,
INC., and THE WALT DISNEY COMPANY,

                             Defendants.




           NOTICE OF DEFENDANTS’ MOTION TO DISMISS COMPLAINT

       PLEASE TAKE NOTICE that, upon the accompanying memorandum of law, the

supporting declaration of Nathan Siegel dated April 29, 2024 and the exhibits annexed thereto,

and all pleadings herein, Defendants James C. Kimmel a/k/a Jimmy Kimmel, American

Broadcasting Companies, Inc., and The Walt Disney Company (collectively, “Defendants”)

hereby move before the Honorable Denise L. Cote, United States District Judge, at the United

States Courthouse for the Southern District of New York, 500 Pearl Street, Courtroom 18B, New

York, New York, for an order pursuant to Fed. R. Civ. P. 12(b)(6) dismissing the Complaint of

Plaintiff George Santos (“Plaintiff”) in its entirety and with prejudice.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Court’s Pretrial Scheduling

Order (ECF No. 13), Plaintiff’s deadline to file any opposition to the motion is May 24, 2024,

and Defendants’ reply will be due June 7, 2024.
Dated: April 29, 2024   Respectfully submitted,


                        By: /s/ Nathan Siegel

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                        Jimmy Kimmel, American Broadcasting Companies,
                        Inc., and The Walt Disney Company




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